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UNITED STATES DISTRICT COURT                *      SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DMSION


J&T CHIROPRACTIC, PLLC a/k/a               §
J&T CHIROPRACTIC, LLC                      §
                                           §
versus                                     §             Civil Action 4:22-CV-03285
                                           §
T&C CHIROPRACTIC, LLC f/k/a                §
T&C CHIROPRACTIC, PLLC, and                §
THY NGOC NGUYEN                            §

                                         NOTICE

Per the Court's Minute Order of March 1, 2023,


   1. The contact information for Nhu "Jenny" Tran has been obtained and forwarded to
      Plaintiff.

   2. As reported to Plaintiff in Defendants' First Amended Responses and Objections to
      Plaintiff's First Request for Production, Defendants have not been able to locate any
      additional "soft copy" of the document Bates numbered J&T_000005.


Dated March 17, 2023.




                                                        W.Bowen
                                                 Atto ey-in-Charge for Defendants T&C
                                                 CHI OPRACTIC, LLC f/k/a T&C CHIRO-
                                                 PRA TIC, PLLC and THY NGOC NGUYEN
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                                CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing document was served upon the counsel of
record listed below by email on the 17th day of March, 2022.

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                                               Jame W. Bowen
